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                                   STATEMENT OF FACTS

       Your affiant, Joshua Miller, is a Special Agent assigned to Washington Field Office,
Criminal Branch. In my duties as a special agent, I conduct narcotics investigations. Currently, I
am a tasked with investigating criminal activity in and around the Capitol grounds on January 6,
2021. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of a violation of Federal criminal
laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        An investigation into Bradley Wayne Weeks (hereafter “WEEKS”) lead to the issuance of
a complaint and arrest warrant by U.S. Magistrate Judge Robin M. Meriweather on January 19,
2021, for violating 18 U.S.C. § 1752(a)(1) and (2) and 40 U.S.C. § 5104(e)(2)(D),(G). WEEKS
was arrested on January 21, 2021, in Florida. Information gathered during the WEEKS
investigation led investigators to Danny Carlton (hereafter “CARLTON”) as WEEKS’ travel
companion. Investigation revealed that CARLTON’s full name is Jonathan Daniel Carlton.

        On January 20, 2021, an FBI Task Force Officer interviewed CARLTON via CARLTON’s
cellphone about his participation in the Capitol riot on January 6, 2021. During the interview,
CARLTON acknowledged traveling to Washington, D.C with WEEKS on January 5, 2021 to
attend former President Trump’s speech, participate in a peaceful demonstration against the
certification of the vote, and support former President Trump. CARLTON stated that he and
WEEKS marched to the Capitol after former President Trump’s speech and were caught up in the
mob on the Capitol steps.

        CARLTON stated that they never went into the Capitol. However during the chaos,
CARLTON and WEEKS were separated for about 20 minutes. CARLTON stated that upon
reuniting with WEEKS, the two left the area and traveled by Metro back to their hotel. CARLTON
further stated neither he nor WEEKS took part in any property destruction, violence, or
confrontation with police.

        On January 21, 2021 after his arrest, WEEKS waived his Miranda rights and gave an
interview to the Agents. WEEKS confessed that he entered the U.S. Capitol on January 6, 2021.
WEEKS confirmed he and CARLTON traveled together to Washington, D.C. WEEKS stated that
CARLTON also entered the U.S. Capitol. WEEKS was shown the two photographs below (known
images of CARLTON) and stated that both images depict CARLTON.




WEEKS further stated CARLTON is a close friend of his wife who walked his wife down the aisle
during their wedding.

       WEEKS further stated during the post-arrest interview that he was contacted by
CARLTON on January 20, 2021. CARLTON contacted WEEKS to tell him that CARLTON had
been interviewed by the FBI. During their conversation, CARLTON admitted to WEEKS that he
had entered the U.S. Capitol but said that he (CARLTON) was pushed into the building.
CARLTON further relayed to WEEKS that the individuals had threatened him and his family if
he turned back.
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       Your affiant reviewed the content on WEEKS’ cellular phone after WEEKS consented to
a search of his device. Within that evidence, there are text messages exchanged between
CARLTON and WEEKS on January 6, 2021. The below chart depicts an SMS conversation
between CARLTON and WEEKS taken from WEEKS’ cellular phone download. Your affiant
converted the “Coordinated Universal Time” (UTC) time to “Eastern Standard Time” (EST)
below. The below conversation occurred between CARLTON and WEEKS on January 6, 2021
between 3:02 p.m. EST and 3:08 p.m. EST.

                 Table 1: SMS Conversation Between CARLTON and WEEKS
      From             To                      Body               Time Stamp                Time Stamp
                                                                   01/06/2021                01/06/2021
    CARLTON1        WEEKS                 Where are you           3:02:09 p.m.              8:02:09 p.m.
                                                                     (EST)                     (UTC)
     WEEKS        CARLTON       I'm all the way on the left side 3:02:37 p.m.               8:02:37 p.m.
                                if you're looking at the caputal     (EST)                     (UTC)
     WEEKS        CARLTON               Where are you at          3:03:01 p.m.              8:03:01 p.m.
                                                                     (EST)                     (UTC)
    CARLTON         WEEKS           Inside by the window we       3:03:44 p.m.              8:03:44 p.m.
                                             breached                (EST)                     (UTC)
     WEEKS        CARLTON                 You're inside?          3:04:06 p.m.              8:04:06 p.m.
                                                                     (EST)                     (UTC)
    CARLTON         WEEKS         Burning up and leg injuries     3:04:16 p.m.              8:04:16 p.m.
                                                                     (EST)                     (UTC)
    CARLTON         WEEKS                      Yeab               3:04:20 p.m.              8:04:20 p.m.
                                                                     (EST)                     (UTC)
    CARLTON         WEEKS            Just stepped out for air     3:05:45 p.m.              8:05:45 p.m.
                                                                     (EST)                     (UTC)
    CARLTON         WEEKS         If you're out stay out ill find 3:07:28 p.m.              8:07:28 p.m.
                                                you                  (EST)                     (UTC)
     WEEKS        CARLTON                I'm isnside now          3:08:45 p.m.              8:08:45 p.m.
                                                                     (EST)                     (UTC)
    CARLTON         WEEKS            Tell me where to meet        3:08:51 p.m.              8:08:51 p.m.
                                                                     (EST)                     (UTC)

       On January 22, 2021, an FBI Task Force Officer interviewed CARLTON again regarding
his January 20, 2021 claim that he did not enter the Capitol. CARLTON changed his story and
admitted to entering the Capitol Building on January 6, 2021. CARLTON admitted that he and
WEEKS approached the entrance to the Capitol and that he (CARLTON) was near WEEKS as
WEEKS filmed a video.

       CARLTON claimed that he was caught in a large mob of people entering the Capitol.
CARLTON said a group of people in “camo” were pushing and shoving people like a human shield
or wave. CARLTON claimed he tried to turn around to escape the crowd but was forced/pushed
1
 The phone number for CARLTON is saved as “Danny” in WEEKS’ phone’s contacts. This is the same phone
number that CARLTON used to speak with the FBI Task Force Officer on January 20 and 22, 2021. This number is
also associated with CARLTON in law enforcement databases.
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back and told by one of the people in camo that he could not turn around. CARLTON claimed he
was pushed, basically trampled, and forced inside the Capitol.

        CARLTON stated that once inside he wandered a hall with statues in it from which he
could see the Rotunda for approximately 10 minutes, unsure of where he was located. CARLTON
claimed his leg was injured and his faced burned from what he thought was pepper spray
transferred from one of the guys in camo. CARLTON claimed a police officer asked if he was ok.
After several more minutes, CARLTON realized he could not find WEEKS and texted him.

       CARLTON admitted to calling WEEKS after he was interviewed on January 20th. He told
WEEKS about the interview and informed him that the FBI would most likely be contacting him.
When asked about his lie that he had not entered the Capitol, CARLTON indicated that he was
embarrassed to have participated in the demonstration, appalled by the riot, and just wanted to
distance himself from it. CARLTON admitted that he may have deleted some texts but he was not
sure and didn’t really remember.

       Lawfully-obtained Google records show that Google Account 900059000000
("CARLTON's Google Account") has the following basic subscriber information: Jonathan
Carlton, an email address and a recovery email address both of which include the name Danny
Carlton, and the same phone number on which he spoke to the FBI Task Force Officer and with
which he texted WEEKS.

        Lawfully-obtained Google records also show that a device associated with CARLTON's
Google Account was present at the U.S. Capitol on Jan 6, 2021. Specifically, the location history
for CARLTON's Google Account shows a device associated with the account was present inside
and immediately outside the U.S. Capitol from at least 2:26 p.m. EST until at least 3:52 p.m. EST
for a duration of at least one hour and twenty-six minutes. The timeline of when CARLTON was
inside the U.S. Capitol, based on the location history of CARLTON's Google Account, is within
the timeline CARLTON and WEEKS were texting each other as noted in Table 1.

       On January 22, 2021, your affiant received the below Facebook post from an anonymous
cooperating witness. The witness preserved the post and submitted it to the FBI. The post depicts
a photograph of CARLTON.
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        Photo 1: Facebook photo of CARLTON submitted to the FBI by a cooperating witness.

       Your affiant pulled Photos 2, 3, 4, and 5 below from WEEKS’ cellular phone download.
Your affiant believes that these pictures depict CARLTON based on comparison with the above
photos, comparison with CARLTON’S driver’s license, and WEEKS’ and CARLTON’s
statements that they traveled together.
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     Photo 2: Picture of CARLTON from                Photo 3: Picture of CARLTON from
   WEEKS’ cellular phone. CARLTON is                      WEEKS’ cellular phone.
 wearing a tan jacket with silver buttons on the
               breast pocket flap.

Your affiant believes that Photo 3 is CARLTON because the individual is in the same tan jacket
with silver buttons and is holding the same newspaper. Photo 3 appeared on WEEKS’ cellular
phone download just before Photo 2. In Photo 3, CARLTON is wearing white shoes with a dark
colored backpack and striped umbrella on the ground next to him. The backpack and umbrella
appear with CARLTON inside the U.S Capitol as described below
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  Photo 4: Picture of Weeks and Carlton from  Photo 5: Picture of Weeks and Carlton from
           WEEKS’ cellular phone.                      WEEKS’ cellular phone.
Photo 4 shows WEEKS and CARLTON at the Washington Monument; Photo 5 shows WEEKS
and CARLTON together immediately outside the Capitol building.

       Your affiant obtained closed circuit television (CCTV) footage from within the U.S.
Capitol. Footage from CCTV camera 0402, the “Crypt North” camera depicts CARLTON inside
the Crypt of the U.S. Capitol building. The below screenshot was taken from CCTV camera
0402 and shows CARLTON entering the Crypt Room at 44:37 into the video.




     Photo 6: CARLTON with the tan jacket, umbrella, backpack, and white tennis shoes.
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     Photo 7: Second photo of CARLTON inside the Crypt Room within the U.S. Capitol.

       Photo 7 was taken from CCTV camera 0403, the “Crypt South” camera. Photo 7 shows
CARLTON walking around the Crypt Room at 44:59 into the video. CARLTON is wearing the
aforementioned backpack and carrying the striped umbrella. Additionally, the individual in
Photo 7 is wearing the same white shoes and tan jacket as the individual in Photos 2 and 3 above.

         Your affiant believes the individual in Photos 6 and 7 is CARLTON. Your affiant’s
belief is based on several factors: The individual in Photo 6 and Photo 7 has the same tan jacket,
short haircut, white shoes, dark colored backpack, and striped umbrella as the individual pictured
in photo 2 and photo 3 above. This information coupled with CARLTON’s self-admission
indicates CARLTON was present inside the U.S. Capitol On January 6, 2021.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Jonathan Daniel Carlton violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.
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        Your affiant submits there is also probable cause to believe that Jonathan Daniel Carlton
violated 40 U.S.C. § 5104(e)(2)(D),(G), which makes it a crime to willfully and knowingly (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
in that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      _________________________________
                                                      Special Agent Josh Miller
                                                      Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this the 24th day of February 2021.
                                                                         2021.02.24
                                                                         15:17:21 -05'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE
